                       IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


 CAPITAL GRILLE HOLDINGS, INC.,

                               Plaintiff,

         v.                                                CASE NUMBER 3:19-CV-576
 HISTORIC HOTELS OF NASHVILLE,                             District Judge Eli J. Richardson
 LLC,                                                      Magistrate Judge Jeffery Frensley
                               Defendant.



                           JOINT STIPULATION OF DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), IT IS STIPULATED by

Plaintiff / Counter-Defendant Capital Grille Holdings, Inc. (“Plaintiff”) and Defendant / Counter-

Plaintiff Historic Hotels of Nashville, LLC (“Defendant”) that Plaintiff’s claims against Defendant

are DISMISSED WITH PREJUDICE. In addition, pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii) and (c), IT IS STIPULATED by Plaintiff and Defendant that Defendant’s

counterclaims against Plaintiff are DISMISSED WITH PREJUDICE.                     Finally, IT IS

STIPULATED by Plaintiff and Defendant that all parties are to pay their own attorneys’ fees,

costs, and expenses.

                                                       Respectfully submitted,


                                                       /s/ Erin Palmer Polly
                                                       Erin Palmer Polly (#22221)
                                                       erin.polly@butlersnow.com
                                                       BUTLER SNOW LLP
                                                       The Pinnacle at Symphony Place
                                                       150 Third Avenue, South, Suite 1600
                                                       Nashville, TN 37201
                                                       (615) 651-6700



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                                       Robert L. Lee (PHV)
                                       bob.lee@alston.com
                                       Holly Hawkins Saporito (PHV)
                                       holly.saporito@alston.com
                                       Marcos Alvarez (PHV)
                                       marcos.alvarez@alston.com
                                       ALSTON & BIRD LLP
                                       1201 W. Peachtree Street, Suite 4900
                                       Atlanta, GA 30309
                                       (404) 881-7000

                                       Lauren Refinetti Timmons (PHV)
                                       lauren.timmons@alston.com
                                       ALSTON & BIRD
                                       101 South Tryon Street, Suite 4000
                                       Charlotte, NC 28280
                                       (704) 444-1115

                                       Counsel for Capital Grille Holdings, Inc.


                                       /s/ Edward D. Lanquist, Jr.
                                       Edward D. Lanquist, Jr. (#13303)
                                       Scott M. Douglass (#31097)
                                       Patterson Intellectual Property Law, P.C.
                                       1600 Division Street, Suite 500
                                       Nashville, TN 37203
                                       edl@iplawgroup.com
                                       smd@iplawgroup.com

                                       Blakeley D. Matthews (#12168)
                                       Paige I. Bernick (#30071)
                                       Cornelius & Collins, LLP
                                       Suite 1500, 511 Union Street
                                       P.O. Box 190695
                                       Nashville, TN 37219
                                       bdmatthews@cclawtn.com
                                       pbernick@cclawtn.com

                                       Counsel for Historic Hotels of Nashville,
                                       LLC




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                      IN THE UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

 CAPITAL GRILLE HOLDINGS, INC.,

                              Plaintiff,

         v.                                            CASE NUMBER 3:19-CV-576
 HISTORIC HOTELS OF NASHVILLE,                         District Judge Eli J. Richardson
 LLC,                                                  Magistrate Judge Jeffery Frensley
                              Defendant.



                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document has been served via the Court’s CM/ECF system, pursuant to L.R. 5.02(c), on June 17,
2020, to counsel of record for the Defendant as listed below:

                          Edward D. Lanquist, Jr. (#13303)
                            Scott M. Douglass (#31097)
                  PATTERSON INTELLECTUAL PROPERTY LAW, P.C.
                           1600 Division Street, Suite 500
                               Nashville, TN 37203
                               edl@iplawgroup.com
                              smd@iplawgroup.com

                               Blakeley D. Matthews (#12168)
                                  Paige I. Bernick (#30071)
                               CORNELIUS & COLLINS, LLP
                                Suite 1500, 511 Union Street
                                      P.O. Box 190695
                                    Nashville, TN 37219
                                 bdmatthews@cclawtn.com
                                   pbernick@cclawtn.com


                                                        /s/Erin Palmer Polly
                                                        Erin Palmer Polly
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